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 3
                                UNITED STATES DISTRICT COURT
 4                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 5
      EDDIE-ALEXANDER BANKS,
 6
                                    Plaintiff,              CASE NO. C20-1527-RSM
 7
             v.
 8                                                          ORDER DENYING IN FORMA
      AARON EASTERLY, et al.,                               PAUPERIS REQUEST
 9
                                    Defendants.
10

11          The Court, having reviewed plaintiff’s application to proceed in forma pauperis (IFP), the

12   Report and Recommendation of Mary Alice Theiler, United States Magistrate Judge, and the

13   remaining record, does hereby find and ORDER:

14          (1)    The Court adopts the Report and Recommendation;

15          (2)    Plaintiff’s IFP application is DENIED;

16          (3)    Plaintiff must pay the filing fee of $402.00. If the filing fee is not paid within thirty

17   (30) days of the date of this Order, this case shall be DISMISSED; and

18          (4)    The Clerk is directed to send copies of this Order to plaintiff and to the Honorable

19   Mary Alice Theiler.

20          DATED this 14th day of January, 2021.

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22                                                 A
                                                   RICARDO S. MARTINEZ
23                                                 CHIEF UNITED STATES DISTRICT JUDGE

     ORDER DENYING IN
     FORMA PAUPERIS REQUEST
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